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                             IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MINNESOTA

                    CRIMINAL MINUTES – Mental Competency Hearing
UNITED STATES OF AMERICA,                                                COURT MINUTES
                                                              BEFORE: ELIZABETH COWAN WRIGHT
                Plaintiff,                                            U.S. Magistrate Judge

 v.                                                      Case No:                     18-cr-26 PJS/ECW
                                                         Date:                        December 17, 2019
Tnuza Hassan,                                            Court Reporter:              Lynne Krenz
                                                         Courthouse:                  St. Paul
                Defendant.                               Courtroom:                   3B
                                                         Time Commenced:              10:07 a.m.
                                                         Time Concluded:              11:25 a.m.
                                                         Time in Court:               1 hour and 18 minutes

APPEARANCES:

 For Plaintiff: Charles J. Kovats, Jr., AUSA
 For Defendant: Joshua P. Johnson and Robert D. Sicoli

PROCEEDINGS:

The Court held a hearing on Defendant’s mental competency pursuant to 18 U.S.C. § 4241(e). The Court admitted
and retained Government Exhibits 1 and 2. The Court granted joint motion to seal Government Exhibit 1.

Additional briefing ordered as follows:

Defendant’s brief or letter stating no brief will be filed is due on or before January 14, 2020. Government’s
response brief, if any, is due on January 28, 2020.

Counsel may submit proposed orders to chambers via email with copy to all counsel .




☒ ORDER TO BE ISSUED ☐ R&R TO BE ISSUED
☒ Exhibits retained by the Court ☐ Exhibits returned to counsel ☐ Text order to be entered by Clerk’s Office


                                                                                                      s/SDF
                                                                                      Signature of Law Clerk
